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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

TAKE-TWO INTERACTIVE SOFTWARE,
INC.,
                                                          CASE NO.: 1:18-cv-02608-LLS
               Plaintiff,
                                                     REPLY MEMORANDUM OF LAW IN
                                                     FURTHER SUPPORT OF MOTION TO
v.
                                                      DISMISS OR TO TRANSFER VENUE
DAVID ZIPPERER,
                                                        ORAL ARGUMENT REQUESTED
               Defendant.



       Defendant, DAVID ZIPPERER, by and through undersigned counsel, for his reply to the

opposition filed by TAKE-TWO INTERACTIVE SOFTWARE, INC. (“Take-Two”) at ECF 36,

37 and 38, and pursuant to Fed. R. Civ. P. Rules 12(b)(1), (2), (3) and (6), Zipperer states as

follows:

                                      I. INTRODUCTION
       Take-Two’s Complaint was devoid of any allegations to support personal jurisdiction. Its

opposition to the motion to dismiss for lack of jurisdiction attaches the declaration of David

Andrews, a California Take-Two employee. (ECF 37, ¶ 13). However, the facts contained in

Andrews’ declaration are insufficient to meet Take-Two’s burden. Moreover, they are rebutted

in the Second Declaration of David Zipperer accompanying this reply.

       There remains no personal jurisdiction in New York over Zipperer. Venue is also

improper. Zipperer has met his burden to transfer venue to his home district, the Southern

District of Georgia.

       Take-Two’s claim for copyright infringement fails. Take-Two’s state law claims fail and

are preempted by copyright law. For these reasons, and based upon argument to be made at a

hearing on this motion requested by Zipperer, the Complaint should be dismissed.

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  II. TAKE-TWO HAS NOT MET ITS BURDEN TO DEMONSTRATE PERSONAL
            JURISDICTION OVER DAVID ZIPPERER IN NEW YORK
          Personal jurisdiction is Take-Two’s burden to meet. Whitaker v. Am. Telecasting, Inc.,

261 F.3d 196, 208 (2d Cir. 2001). Take-Two has not met its burden.

     a.        Enforcement of the Fine Print Forum Selection Clause in Take-Two’s User
                        Agreement Would be Unreasonable or Unjust
          Take-Two relies on the fine print forum selection clause in its user agreement as its

primary basis for asserting personal jurisdiction over Zipperer in New York.

          Determining whether to dismiss a claim based on a forum selection clause
          involves a four-part analysis. The first inquiry is whether the clause was
          reasonably communicated to the party resisting enforcement. The second step
          requires us to classify the clause as mandatory or permissive, i.e., to decide
          whether the parties are required to bring any dispute to the designated forum or
          simply permitted to do so. Part three asks whether the claims and parties involved
          in the suit are subject to the forum selection clause.
          If the forum clause was communicated to the resisting party, has mandatory force
          and covers the claims and parties involved in the dispute, it is presumptively
          enforceable. The fourth, and final, step is to ascertain whether the resisting party
          has rebutted the presumption of enforceability by making a sufficiently strong
          showing that enforcement would be unreasonable or unjust, or that the clause was
          invalid for such reasons as fraud or overreaching.
Phillips v. Audio Active, Ltd., 494 F.3d 378, 383-84 (2d Cir. 2007)(internal citations omitted).

          Zipperer disputes that Take-Two has met steps one and four. As to step one, the fine

print forum selection clause was not reasonably communicated to Zipperer. Take-Two has

offered the testimony of Andrews that Zipperer agreed to a Take-Two user agreement, but

Andrews fails to say what version or provide any evidence of Zipperer’s assent, to what version

of Take-Two’s agreement Zipperer assented, and if that version contained a forum selection

clause. Zipperer makes clear in his Second Declaration attached hereto that his agreement to

some version of Take-Two’s user agreement going back to 2013 when he first played GTAV

was required and could not be refused, yet he never understood that his agreement to the




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adhesive user agreement included a clause requiring him to defend himself from suit by Take-

Two in New York. (Zipperer 2d Decl. ¶¶ 13-15).

        As to step four, enforcement of the forum selection clause against Zipperer would be

unreasonable and unjust at to Zipperer. Zipperer has a ninth grade education, is unemployed,

and when he was employed he was a manual laborer. (Zipperer 2d Decl. ¶¶ 2-3). Any money he

earned from sales of the “Menyoo” cheat menu was used to support his family and he has no

money left and so his legal representation is being provided pro bono because he cannot afford

an attorney. (Zipperer 2d Decl. ¶ 31; ECF 28). Zipperer had no choice but to accept Take-Two’s

user agreement, and was not given the option to negotiate or opt-out of Take-Two’s user

agreement. (Zipperer 2d Decl. ¶ 15). Zipperer never read the entire Take-Two user agreement,

and what little he did read was difficult for him to understand. (Zipperer 2d Decl. ¶¶ 16-17).

Zipperer was given no warning that when he played GTAV that he was agreeing to be sued in

New York for creating a “cheat menu” for the game. (Zipperer 2d Decl. ¶ 17).

        The manner in which the forum selection clause was buried in Take-Two’s user

agreement evidences overreaching. The forum selection is buried on page 6 of the agreement.

(Zipperer 2d Decl. ¶ 19). The forum selection clause is in the same small type as the rest of the

agreement. (Zipperer 2d Decl. ¶ 19). The Take-Two website does not encourage users to

examine the user agreement, nor does the Rockstar Games Social Club website. (Zipperer 2d

Decl. ¶¶ 21-22). Under the circumstances enforcement of the forum selection clause would be

unreasonable and unjust.

   b.      Take-Two cannot meet it Burden to Show Jurisdiction under N.Y. C.P.L.R. §
                                       302(a)(3)
        Take-Two next claims jurisdiction pursuant to pursuant to N.Y. C.P.L.R. § 302(a)(3). To

establish jurisdiction under this section Take-Two


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          must show that (1) the defendant committed a tortious act outside New York; (2)
          the cause of action arose from that act; (3) the tortious act caused an injury to a
          person or property in New York; (4) the defendant expected or should reasonably
          have expected the act to have consequences in New York; and (5) the defendant
          derived substantial revenue from interstate or international commerce.
Penguin Grp. (USA) Inc. v. Am. Buddha, 16 N.Y.3d 295, 302 (N.Y. 2011).

          Take-Two’s opposition fails to note these requirements, nor can it make the required

showing here. For the reasons previously discussed in Zipperer’s motion, this is really a breach

of contract case, not a copyright infringement case, and so no tortious act was committed.

Furthermore, the fourth prong – whether defendant expected his acts to have consequences in

New York – is determined on an objective basis. Kernan v. Kurz-Hastings, Inc., 175 F.3d 236,

241 (2d Cir. 1999). Objectively, there is no credible basis to determine that Zipperer’s actions

could have consequences in New York.

          “New York courts require some discernible effort by the defendant to directly or

indirectly serve the New York market.” Chatwal Hotels & Resorts LLC v. Dollywood Co., 90 F.

Supp. 3d 97, 107 (S.D.N.Y. 2015) (quoting Parker Waichman Alonso LLP v. Orlando Firm,

P.C., 2010 U.S. Dist. LEXIS 47957, 2010 WL 1956871, at *10 (S.D.N.Y. May 14, 2010)).

Zipperer never directed any of his activities towards New York, and Take-Two cannot show that

he did.

          Take-Two fails to satisfy the requirements of N.Y. C.P.L.R. § 302(a)(3). See also, Touro

Coll. v. Fondazione Touro Univ. Rome Onlus, 2017 U.S. Dist. LEXIS 145453, at *29-34

(S.D.N.Y. Aug. 31, 2017)(analyzing the C.P.L.R. § 302(a)(3) factors and dismissing for lack of

personal jurisdiction).

III. TAKE-TWO CANNOT AVOID TRANSFER TO THE SOUTHERN DISTRICT OF
                             GEORGIA
          Take-Two’s efforts to establish venue in Manhattan fail. Take-Two ignores the facts.

The facts are that Zipperer is in the Southern District of Georgia, and that the only witness Take-
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Two has come forward with is located in California. (ECF 37, ¶ 13). There are no facts

supporting venue alleged in the Complaint, and the facts shown in the affidavits submitted on the

motion all point to transfer to Georgia.

            IV. THIS COURT LACKS SUBJECT MATTER JURISDICTION
       The Complaint fails to allege acts of copyright infringement by Zipperer. The Complaint

alleges discrete acts, none of which are violations of its exclusive rights under 17 U.S.C. § 106.

Take-Two alleges that “Zipperer’s creation and use of the Infringing Programs alters and creates

derivative works based on GTAV, which are used to alter the game for the benefit of the user or

to “grief” other players by altering their games without permission.” (ECF 1 ¶ 19). Take-Two

also claims “Zipperer breached Take-Two’s User Agreement conditions. Moreover, he has

infringed Take-Two’s copyrights in two ways: first by continuing to use GTAV after breaching

those conditions, and second by creating an unauthorized derivative work based on GTAV.”

(ECF 1 ¶ 20).

       Take-Two claims that Zipperer’s “Infringing Programs” are unauthorized “derivative

works based on GTAV.” Take-Two describes the “Infringing Programs” as “cheating tools that

allow users to perform unauthorized actions in Take-Two’s Grand Theft Auto V (“GTAV”)

multiplayer feature Grand Theft Auto Online. The online program is, of course, played online on

the internet. Yet the work at issue identified in the registration certificate attached to the

complaint is “Grand Theft Auto V (for PC)” which, by definition, is a PC based (not online

version) of the game.

       Furthermore, the “Infringing Programs” are not derivative works. “A ‘derivative work’ is

a work based upon one or more preexisting works, such as a translation, musical arrangement,

dramatization, fictionalization, motion picture version, sound recording, art reproduction,

abridgment, condensation, or any other form in which a work may be recast, transformed, or
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adapted.” 17 U.S.C. § 101. The “Infringing Programs” are none of these things. The “Infringing

Programs” are not alleged to be translations, adaptations, or reproductions of GTAV. Rather, the

“Infringing Programs” are alleged to be “cheating tools” that work with GTAV.

       Take-Two improperly refers to documents outside the four corners to make up for its

Complaint’s insufficiency. (See ECF 36 at 24 fn. 7 referring to a declaration in support of Take-

Two’s Motion for Preliminary Injunction). Take-Two cannot amend its complaint by reference

to declarations filed in support of a motion for preliminary injunction in order to avoid dismissal.

                                      V. CONCLUSION
       Zipperer reserves the right to make further legal arguments at a hearing on this motion

which is requested.

Dated: May 24, 2018

                                              /s/Joel B. Rothman
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                               CERTIFICATE OF SERVICE

        The undersigned does hereby certify that on May 24, 2018, a true and correct copy of the
foregoing document was served by electronic mail by the Court’s CM/ECF System to all parties
listed below on the Service List.

                                            /s/Joel B. Rothman
                                            JOEL B. ROTHMAN


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